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                        Exhibit 1-W
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment



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                                                                                        Exhibit 1W
                                                         White Decl. ISO Disney's SJ Motion P.0438
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                                                                               Exhibit 1W
                                                White Decl. ISO Disney's SJ Motion P.0439
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                                                                               Exhibit 1W
                                                White Decl. ISO Disney's SJ Motion P.0440
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                                                                               Exhibit 1W
                                                White Decl. ISO Disney's SJ Motion P.0441
